       Case 2:17-cv-04540-WB           Document 250       Filed 08/27/20      Page 1 of 4




                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


 COMMONWEALTH OF PENNSYLVANIA and
 STATE OF NEW JERSEY,

                               Plaintiffs,

                       v.

 DONALD J. TRUMP, in his official capacity as
 President of the United States; ALEX M. AZAR II, in
 his official capacity as Secretary of Health and Human
 Services; UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES; STEVEN T.                        No. 2:17-cv-04540-WB
 MNUCHIN, in his official capacity as Secretary of the
 Treasury; UNITED STATES DEPARTMENT OF THE
 TREASURY; RENE ALEXANDER ACOSTA, in his
 official capacity as Secretary of Labor; UNITED
 STATES DEPARTMENT OF LABOR; and UNITED
 STATES OF AMERICA,

                               Defendants,

                       and

 LITTLE SISTERS OF THE POOR SAINTS PETER
 AND PAUL HOME,

                               Intervenor-Defendant.


                                  JOINT STATUS REPORT

       The parties in the above matter respectfully submit this joint status report and proposal

for governing future proceedings in this case. On July 8, 2020, the Supreme Court issued a

decision reversing the Court of Appeals’ decision upholding this Court’s entry of a preliminary

injunction, and remanded the case to the Court of Appeals for further proceedings. On August

20, 2020, the Court of Appeals, consistent with the Supreme Court’s decision, entered judgment
       Case 2:17-cv-04540-WB           Document 250         Filed 08/27/20      Page 2 of 4




vacating this Court’s grant of a preliminary injunction and remanded the matter to this Court for

further proceedings.

       The parties had previously submitted summary judgment motions, and those motions

were fully briefed prior to July 31, 2019, when this Court stayed the case. In light of the Supreme

Court’s decision, however, the parties jointly propose that they be permitted to file new summary

judgment motions and briefs, consistent with the schedule below, that will take into account the

effects of the Supreme Court’s decision. The prior motions could be denied as moot.

       The parties have further agreed that Plaintiffs will not argue that, by agreeing to proceed

via new summary judgment briefs rather than supplemental briefs, Defendants or Intervenors

have conceded that Plaintiffs can raise new arguments not raised in the currently pending

summary judgment motions. Plaintiffs intend to argue that it is appropriate for the parties to raise

new arguments in light of the Supreme Court’s decision, but agree not to argue that Defendants

or Intervenors have conceded that they may do so by agreeing to the submission of new briefs.

       The parties respectfully propose the following briefing schedule:

       September 29: Plaintiffs file a motion for summary judgment and opening brief [45
       pages]
       October 23: Defendants and Intervenor each file a cross-motion for summary judgment
       and a combined opening brief and opposition to Plaintiffs’ motion [45 pages each]
       November 13: Plaintiffs file a combined reply in support of their motion and opposition
       to Defendants’ and Intervenor’s motions [35 pages]
       November 24: Defendants and Intervenor each file a reply in support of their motion [15
       pages each]
Finally, the parties respectfully request that they be permitted to dispense with the filing of any

additional separate statements of facts, as required by the Court’s policies and procedures.




                                                  2
      Case 2:17-cv-04540-WB       Document 250      Filed 08/27/20      Page 3 of 4




August 27, 2020                              Respectfully Submitted,

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                                         3
Case 2:17-cv-04540-WB   Document 250   Filed 08/27/20   Page 4 of 4




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                               4
